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  6
  7                          UNITED STATES DISTRICT COURT
  8                        CENTRAL DISTRICT OF CALIFORNIA
  9
 10    UNITED STATES OF AMERICA,
                                                      Case No. 18-00759-CJC-4
 11                  Plaintiff,
                                                      DECLARATION OF BRITTNEY
 12    vs.                                            WELCH IN SUPPORT OF
                                                      AARON EASON’S RELEASE
 13    AARON EASON,                                   PENDING TRIAL
 14                  Defendant.
 15
             I, Brittney Welch, do hereby declare under penalties of perjury that the
 16
      following is true.
 17
             1. I am a 31 yrs old African American/ Filipino mother of one child studying
 18
      respiratory therapy near my home in San Diego County.
 19
             2. I do not choose a political party. I am not a member of any political
 20
      organization. However I consider myself slightly conservative.
 21
             3. I was not involved in politics until I enrolled in global studies at Cal State
 22
      San Marcos and learned about the negativity of the mainstream media toward
 23
      conservative candidates and elected officials along with favoritism showed for
 24
      liberal/ progressive candidates and elected officials.
 25
             4. I am a supporter of President Donald J. Trump and wanted to express my
 26
      support following his election as our nation’s forty fifth president. In early 2017 I
 27
      saw on social media that a group was planning a march supporting President Trump
 28

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  1   in Berkeley, California. I contacted the web site, and asked if any similar events
  2   were planned in San Diego County, where I live.
  3         5. Corrine Braune responded that no similar events were planned in San
  4   Diego but advised that I could be the organizer of a San Diego event which she
  5   would support. I agreed to organize an event .
  6         6. I organized the March for Trump on March 4, 2017 in Ruocco Park near
  7   downtown San Diego. This was the same label as the Northern California event
  8   held in Berkeley on the same day. I was able to include the march within the
  9   “Freedom Rally” which was permitted in San Diego and included speakers.
 10
 11         7. Ms. Braune helped me set up a page on Facebook to advertise the San
 12   Diego March 4 Trump. I did not invite anyone to protect speakers or participants
 13   in the march.
 14         8. Approximately 150-200 people participated in the San Diego march.
 15         9. Based upon my organizing the San Diego event, a subsequent event in
 16   Berkeley, California, I have become familiar with a group known as “Antifa.” Antifa
 17   members engage in disrupting free speech of those with opposing viewpoints using
 18   various tactics, which include overwhelming conservative speeches and rallies with
 19   drums, horns, music and other noise making equipment, blocking conservative
 20   marches and city traffic, as well as inflicting property damage, physical violence, and
 21   harassment.
 22         10. Antifa members were present in San Diego but were unable to disrupt the
 23   rally. The San Diego police performed an excellent job in protecting us. It was a
 24   successful event. Aaron Eason was at the San Diego event and was not involved in
 25   any confrontational activity.
 26         11. I did not participate in a subsequent Bolsa Chica event which was a pro-
 27   Trump march. Aaron Eason was at the Bolsa Chica event. I have reviewed film
 28   where Mr. Eason attempts to keep peace between marchers and Antifa. See Exhibit
                                                 2
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  1   9.
  2         12. Rich Black informed me that he wanted to organize a subsequent
  3   Berkeley event which he called, “Berkeley 2.0,” a free speech rally. He asked my
  4   group to go to Berkeley to support his event. Mr. Black felt that because Berkeley
  5   was so liberal, that the event would turn violent. Based on that belief, Mr. Black
  6   intended to build a wall around speakers, record Antifa and have people in
  7   attendance who would defend against violence.
  8         13. I invited Aaron Eason to assist me and the free speech rally organizers in
  9   maintaining order and defending attendees against violence from Antifa members at
 10   the April 15, 2017 Berkeley rally.
 11         14. When I invited Aaron Eason, and asked him to invite friends to assist in
 12   protecting speakers and innocent bystanders from violent acts of those seeking to
 13   prevent free speech. All travel expenses for Aaron Eason were going to be paid by
 14   the event organizers. I paid for Mr. Eason’s hotel room with the expectation that
 15   Rich Black would reimburse me.
 16           15. I knew that Aaron Eason never laid a hand on anyone at prior events.
 17   Aaron and friends had no weapons. Antifa had weapons.
 18         16. We were not at Berkeley to fight anyone. Our goal was to protect and
 19   deter Antifa from fighting. Video from the Berkeley event shows Aaron Eason
 20   peacefully engaging a masked Antifa member in a political discussion regarding the
 21   “Trump dossier.” See screenshot from video attached as Exhibit 10.
 22           17. Violence in Berkeley erupted when Antifa started pushing everyone into
 23   a protected area. Antifa still threw M-80s and sprayed mace beyond the protected
 24   area. Old people were getting hurt.
 25           18. Berkeley police just sat there and watched as Antifa was throwing large
 26   rocks, random innocent people were getting hit. I was running away and M-80s were
 27   popping by my ear. An Antifa member who was a Berkeley teacher threw his lock at
 28   an unsuspecting victim.
                                                 3
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                            EXHIBIT 9
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Aaron Eason at Huntington Beach
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                           EXHIBIT 10
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Aaron Eason to Antifa supporter: “The dossier was debunked.”
